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(2 of 31)

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Re: Case No. 22-5730, M. McKinney v. Starbucks Corporation
Originating Case No. : 2:22-cv-02292

Dear Counsel,
The court today announced its decision in the above-styled case.

Enclosed is a copy of the court’s published opinion together with the judgment which has
been entered in conformity with Rule 36, Federal Rules of Appellate Procedure.

Yours very truly,

Deborah S. Hunt, Clerk

Cathryn Lovely
Deputy Clerk

cc: Ms. Wendy R. Oliver
Enclosures

Mandate to issue.
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UNITED STATES COURT OF APPEALS

FOR THE SIXTH CIRCUIT
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